                 Case 1-17-01002-nhl              Doc 11        Filed 11/07/18         Entered 11/08/18 00:17:53


                                               United States Bankruptcy Court
                                               Eastern District of New York
AALM Financial Group, Inc.,
         Plaintiff                                                                                Adv. Proc. No. 17-01002-nhl
Jiang,
              Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 0207-1                  User: ahoward                      Page 1 of 1                          Date Rcvd: Nov 05, 2018
                                      Form ID: 320                       Total Noticed: 4


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 07, 2018.
aty            +Julie A Cvek,    Rattet Pasternak Gordon Oliver LLP,   550 Mamaroneck Avenue,   Suite 510,
                 Harrison, NY 10528-1609
               +Dawn Kirby, Esq,    DelBello, Donnellan, Weingarten, Wise &,   One North Lexington Avenue,
                 11th Floor,   White Plains, NY 10601-1722
               +John M Mavroudis,    Mavroudis Law, LLC,   411 Hackensack Avenue,   2nd Floor,
                 Hackensack, NJ 07601-6320
               +Michael Damian Camarinos,    Camarinos Law Group, LLC,   411 Hackensack Avenue,   2nd Floor,
                 Hackensck, NJ 07601-6320

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 07, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 5, 2018 at the address(es) listed below:
              Amit Shertzer     on behalf of Defendant    Golden Land L.L.C. ashertzer@foxlex.com
              Amit Shertzer     on behalf of Defendant Hong Qin Jiang ashertzer@foxlex.com
              Amit Shertzer     on behalf of Defendant Xi Liang Liu ashertzer@foxlex.com
              John M Mavroudis    on behalf of Plaintiff    AALM Financial Group, Inc. jmavroudis@esqs.com
              Kathleen M Kundar    on behalf of Defendant    Golden Land L.L.C. kmkundar@foxlex.com
              Kathleen M Kundar    on behalf of Defendant Xi Liang Liu kmkundar@foxlex.com
              Kathleen M Kundar    on behalf of Defendant Hong Qin Jiang kmkundar@foxlex.com
                                                                                              TOTAL: 7
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                                     United States Bankruptcy Court
                                           Eastern District of New York
                                       271−C Cadman Plaza East, Suite 1595
                                           Brooklyn, NY 11201−1800

IN RE:                                                                                 CASE NO: 1−17−01002−nhl
    AALM Financial Group, Inc. v. Jiang et al
Social Security/Individual Taxpayer ID/Taxpayer ID/Employer ID No.:                                    CHAPTER: 0


                           DEBTOR(s)




           NOTICE TO DEBTOR(S), CREDITOR(S) AND INTERESTED PARTIES


NOTICE IS HEREBY GIVEN THAT:
The Court has scheduled a status hearing in the above−mentioned adversary proceeding for December 20, 2018 at
3:30 P.M., Brooklyn, New York, 11201, Courtroom 3577.



Dated: November 5, 2018

                                                               For the Court, Robert A. Gavin, Jr., Clerk of Court




BLbcn1 [Blank Creditors Notice rev. 02/01/17]
